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                         EXHIBIT A
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        SUPREME COURT OJD' TBE STATE 0V NEW YORK
        COUNTY O.V NEW YORK
                                                                        -X
        •hi
                                                        Plaintiff,               COMPLAINT

                -ngnjlnst"                                                       Index No,



                                  KATHEMNE MALLE S]
       nncTJOBN]

                                                       D&fctulniils,
                                                                        -X

               Plaiullrt'S'gAggappem'iug^/'o SB, complnmiug ofdofohclimtsABBg. ^SS,

       Kntli.eruto Ivfnllo flB|ii tiud John SpHl roapeotfully nHeges;

                                          PRELIMTNARY STATBMBNT

             1, This complaint rocites what happens when a privileged student of ecotioniio means ftt

       Albany High School did not get evorythlng she and her family dreamed of and believed she was

       entitled lo and the teugths slie aud herpareals \veut to in order to seelc revenge on the person tliey

       held reypojislble for orushhg tlieb' drem'n, driven solely by malice nud tlio intGnt lo cause liarm,

            2, Yonuo is propotly based li) New York Couuty whoro plniutiff ^ /||hirosi'clos,



            3, ^BBB' "erved on the City School District of Albany Board ofBducation ("BOB")

       from December 1, 2011 to Ame 30, 2018, Dm'bg tlie almost seven years ^ /dfaB served on tlie

       BOB, 1-ho BOB focused o\\ raising tho graduation rate by pi.'ovlding equitable fuuding to support

       the acadouiic, social, and ojuotioiuil needs ofiuidei'tierved sludenfs,

            4, Wheu SB'^gJomcd lhe BOB m 20U>tho stntowido gracluatiom'atc wns 78%, At

      Albiiay I-llgh Soliool ("AHS") flio gi'tiduntio^ rntev/ns 53% overall; 77°/> for white shideQts; 47%

      for Blnclc/Afi'ican American stiidenls; 42% HfspaTiic/Lalino Kftidente; 42% Asian/Native

      Hnwflilau/Pacific Isliiuders,

            5, After years of low graduation rates, the New York State Bducation Department




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       idoDilinocl AI-IS ay a sd'nggUng scjiiool on tho list for RecoivGi'sliip in July 2015,

            6, By Juuo 2018, when -ljg. A(JBg|s second tQi'm on tlic BOB oiuicd, (-lie AHS grndnaHon

       rate was 68°/o ovcral); 76% for wliite studonts; (i3°/?i for Blaolo'Afrioan Americnn students; 70°/a

       for Hispanic/Larino sludeats; 75% for Ashin/Nalive Hiiwyilan/Piiuific Islander studeu<K, It was

       the fiflh couseoutlve yenr wllh an inoronse and AHS's highest gi'Qdualiotirate since 2005, wlicu

       New York Slntc started ineasuriug grndnotioiu'tites uuder 1)10 oun'ent uieltiodology, Tlic

       st-atewide graduation rate la 2018 was 80°/u,

            7, In the Albauy City School Distdci, a poor dislricl undcrfnuded by New York Slate,

      providing equity for students meant tlic BOB had to mnks tough cholcos, including requiring

       olnss-size mluimums, reduoiTigpriviiCe, sniiill group music inRlruntont lossons, altematiag years

       when wrlain Advanced Placement ("A.P") cozu'ses wsre offorcdi co-seatuig somo AP aTid

      .[nternftUoualBiiccfilnin'oEtte ("LB") clcisses, imd reftynflguring specialized pi'ograt'us, It also moHMt

      (loku.owiedglng publicly thai thBi'e Jiad been a legncy of racial Inequity that liud to be roullfied,

            8, Although AHS Jiud byen idoutiHeU us a "slruggliug" ychool and iu 2015 was placed in

      R.ecoivership, 1'or many yours it was soou ns having excedeot acadeniio and extraoLirriQnlEH'

      offerings; numarous AP classes; an IB .Dipl6i»a Progrmn; n ftill panoply of music and tlieater

      groups nnd sports progranis; and foreign liinguages Ihnt lucdided Miu'idarin,

           9, The overwJielming majority of sUidonls ifi AP classes and tho IB Program, ay well as

      those lakiug McUidarin and Latin, t'ko tntter ofwliioh stopped beJug o£fei.'ed yrouud the limo

      Agjj joined (lie BOB, wel's wliite and on track to gradusite, Every yeai'i wllk studeuL needy

      outpacing slnte iuuding, (lie BOB Iricd to bnlanco providing higher lcyol olnssos witli ('lie need For

      I'omediilt cld?iyufi to aasiol stiulents who wero perfonning ysBi's-bolow level and in danger oF not

      graduating) and ror increa.sed suuidl imd emotional supports for the siguificant shidcnt popiilation

      with se.rio'ns needs that adversely impaoted thfeu' acadomic success, The BOB also hnd to

      cousldor the budget City of Albiiny (nxpnyei'B would be willing to vote to approvo,

           10, /''B|SBB6n^el'8^^*3ally^l8^sclloo^a!i uA'^^anluSeplembsr201''l,
                                                                                                                   ! i
           11, For /® iJHl' 8e^luy iiu 1B Diploma was "tlie reason [her parents] deuided I'o send


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MYfiCl.U.' M(l. X). 2 RGiC'litXVBD MyflUBl..-i 06/01/2021




       [horjtoAlbitiiyHigh,"

             12, Kal'heriiio iiLid Jolm ^|B"disoussed Al-IS COID'BC oplious with [,1®] and mot with her

       academy gniritinoo oounsolor (ind IB Coorclinutor, Together [fliey] plnnned [lior] ''I yejir 'collogo

       and careor piithwny' towards nn IB diplomn with an empliiisis on Hie iioionoeK,"

             13, An 113 Diploind required students to take a distmct'set oflB olassos injnniof aitd senior

       •ycai'ii taught by tcachoi'fi v/lio received specialized IB Iraiuing,

             14, A^ 4B l'efetTsd to liersolf'as "n liard coro scionce gu'l," Tlio words "Af^ ^flB

       Scieuco Olt'l" appoai'cd at the top of her text niessagey,

             15, /^@. ^BB aud her pareiiis liad pduuiod for her to tiiko n higliur levol IB Biology course

       in licrjanJor mid Ronior yoiu's iio she could obtain an tB Diploma in a Hcience Irack,

             16, In Summer 2016, when Agj ^B| was trying to set 1ier Junior year schedule, slie wrote;

            "iin a hnrd core science girl, Im in ib,, , im snper'sltessed out nbout it bo .'f wnnt the ib
            diploma, I ootnnHy sttirted crying iu llie guidance office like it was a 2 hour fticctlng todny,
            AllIB, It wns nwfiil,"

            17. When /4B '<~r's schedulo showed oi>ly Rogonts Physics and not AP P'hyslos would i

      fit in her Ho1i8(1u1o Junior year she wrote; :

            "im patholic bo pliysios is easy and ifi\ a hard core science girl and Im ruining my oollege '
            cnroor, Tin in norinal pathotio pliyslosl 11 Yeah tifo sucks as,s," ]

            18, When /*flg Sgg cnlered AH8 in order to obtain aa IB Diploma, tliero wore 1
                                                                                                               I

      iipproximately 2400-1- studonts eui'olled; 79% students of color and 2l%w!)ite students,

            J 9. The most recent graduutiuu rate (2014) was 54% overall; 77% for white students; •'14% ;

      for Blaok/A'friuiUi American sh.ideuk1; 58% fur Hlspauic/Latino studoaSs; '19% forAsiau/Ndtivc :

      Ha-wailnn/Paoific Islundoi'ti iiludeuts;, The stttlowide graduat.iun rale was 80%, i !
                                                                                                                   I
            20. Por some time, ^ /(^g lincl I'BCoived some AHS piiront compla-lnts about (heir I

      children's scheduling problems and, when she nitidB ii fyvv inquiries, s1ie leacned (hat nn IB

      Diploma student's schedule was created first - litoi'iilly first) before any of tlio ot-her 24004-

      students' schcduJcy wore assigned - bBonuso that was the only way an 1B Diplomn student could




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^ySGBF DOd, NO. 2 REGRrVRD NyflCRIf) 06/01./^02'J,




       get ii ,soh6dule where all rcqnu'od IB clnsses would jiol conflict witli enoh otiier, Until Iheu, no

       one on the BOB knew -tliisi fact, SiBABSI nsked 1he Distriol's IT Hedd -to report pnbHoly to the

       BOB in -writing mid at a BOBmeetmg- nboul liov/ schedulmg at AHS occurs,

             21. After this presentation, SgAJJ| publicly stated that: given tlio needs of all AHS

       stndonty, sho did not think the t)istrio( could Justily Jitivlug QU IB Prograin witli the achcdylos of

       Just oii6 or n fow students impEiftting the Kohedules of all other sludenfs, aoi.' could a program ui

       its cuu'eut forni wilh so few yludenty ij] it bo sustanied,

            22, Tiio number of shidonts Ju tho ,IB Diplomn Program hnd dwindled (iown to just a few,

       Some students took W TB course or two and obtained an IB Cortificate, But an TB Diploma

       reqnirod almost all 1B classes inclucHng pliyKicn) ecluuatiou, cnlminsitiQg in (i thesis, which few

      students wore wiUiug to do, Pow shiden+s enrolledi (md then some or nil dt'oppod oul injumor or

      senior year,

            23, SB^BB publicly raised the iyyae ol:'how to save JB after ouly one studout gradualed

      in June 2013 v/ltli an IB Diploma.

            24, At D BOB meeting, Sg /Hasked then-AHS Principal Ceoily Wilson-Turrtef Ifslie

      conld tiy to come up with n proposnl to malnlani the IB Diploma Program, which is what lcd to

      AHS's proposal of an Art/Tlwator track for an IB Diploma,

            25, ^H^j| also spoke publicly about reouuthg more shideuts of color into the IB

      Program atid AP olasses, Atid aiuoe D3 aud AP ulassey oosl moasy, she look slepB to obtaiu

      Amdhig jfor yt-udentii who could not affurd Ihusv ws\s but wuut'ecl to take the classes, She reported

      about- tins publicly at BOB mootiugs, She nlso spokepyblioly nbout- tbo need to provide academic

      supports for students \vho mlglit neB(l SOIMO (issistnnce to succeed in t'heso cjmlleuging classes,

           26, Until it changed to M\ Arl/Thenter truck, (he IB Diploma T'rogi-am -wiis one ofAHS's

      programs with tlie loast diversity, 'WiS change resulted In llio largest uumber oflB Diplomas in

      many yonl's bouig n-wurded to four to five AJl'ioau-Amedcau stiideuts nt AI-IS'y 2017 gradiiiition,

           27, Ag|, ICiltlwiue, and Jolin SH Irnew that ^B^tl' *'ne(^ to Bllve l^B •]^ Jr)-^oma

      Program 1'i'om being olinuuatsd because Kal.hwilio Mflllc ^H said shu h'iod to i'o«d ovory BOB


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NVaCGf? BOG, NO, 2 RI3CRIVEP NySCf.;))'| 06/01/2031




       Agenda before tlio bl-monthiy meotingy uucl ttKoiidod mmiy, mwy BOB meetings,

             28, S^B'\BB spoke at a BOB jncoting nbout oompiniiltK pnyeiila of some higli-nchieving

       students were making abont budget ants eliuunnting clnsses or programs, She iinid slie

       understood Tier second clnldl miglil: not have the same opportunities her fitst- child did five years

       earlier at AHS| but equity demmds iho )30E make those ohoioes eveulfyunr own child lulghl

       not got certah opportunities so that resources con go I'o those witl'i gt'oator needs,

             29,1'l was explaLtied to /flg, KathBl'iliB, nnd Jolin S1 why yn uudorfundod poor ycliool

       district willi u low gi.'aduntlon rnle - lu Reosivoratiip •" oou1d not opot'nte liko n small prep school,

       aooob.unodntfng the ycods ofjust one oliild, They WOI'B told an Ait/Theater li'ack was created as

       the only way to snveIB given all the other orltlodl needs to support across a 24004-shident

       so1ioo1 because that track could be incorporated into the already existing Art and Theater

       programs, AHS worked with National ]B to ensure this track would satisfy the IB Diploma

      ji'eqiui'eineuts,


            30, In Spring 201 6, whou. /^g ?tB was H yophoiuore, 3)10 lonrued tluit AHS would not bo

      ttblo to offer fliu higher levol IB Biology course slio ploanod on tnking in herjuulor and seuior

      year becamsa only three other studeuls had t'egistorod for tlie coi.n'se, y •<BBCOU^ s^^ dbtain

      nn IB Diploma, -bnt it would Ime to tie In the IB Art or Thoater track.

            31, Ksrthorine Mnlle ?UB I'Q'c'ulcd atigrily: Imagme our sliook aud surprise when we sat

      down ,,, yucl were told that the 'college and oiu'eor pathway' our dyugliter was on — had iiit a

      brjok wall, I-.liglior level courses in the AI'IK is a fine option for some, But it'y not a fni.o option

      for students wanting to pumio yoieuuo, mediciue, iuat1i or oiigiuocrlng iu colkgo,"

            32, /U> Knthoriuo, niul John £flB v/oro ulso upset-that, since theThentor course was

      "only offered nfter school two days n week wiuoh conflict[ed] wirti mtersoliolnstic, Suburban

      Council sports & gameti," Agj was beiug forced (o make a choice bohveeu. IB Tlwater iind

      sports, ^BB^Bi choso sports aucl registered for Art,

           33, But shortly after Jmiioy year began 111 Septei'ubor 2016, AJJ qggob.ose to give up ou

      her and her parents' droam of on IB Diploma. As Kathcu'ine Mullo ,'^B sta.ted; "Our daughtsr


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MYamr DOCJ, NO, 2 KKCUSXVBD ?>'aGIi!)?; OC/01/2021




       1'olt that spending i'/i poriodK Junior iind Senior yefir -In sin Art class was not iu her bosl inioi'Byt,

       go t'liroo weuka into tho [2016-17] iidiool yenr, sho dropped Art (nud Jic-i' goal of an IB

       Diplomn),"

            34, /fS, KalhBi'ine, iind John S^|l-ilmtioc1 •<|gA||| tor /'® qBBnot beme nb1e to
       obl'aln a sdence-based IB Diploma,

            35, /<fi, Katherln.e, and Jolui Sgg blamed Afi| S^H's Inability to obtab a scienoe-based

       IB diploma on SpHAlB^'s Ghild uol being interested in tlio IB Program, SB/!MB'(i c^ild was

       oue of more than 2'100-l- sti.idents wlio wej'o not iuteL'eiited in the IB Pi'ugi'iim. Hor chM also was

       not inlerestod iu B'cucli, Art, Casinotology, or dozous ofotlior classes, But >tB^B| cli<l n0^ tl'y

       to ollmiuato any of those, Her cluld's intBi'ests were not a cousideratioa in how she made

      decisions its a BOB memW,

            36, /flB, Knlherine, iiad John S^J knevv ihal ^g /^|| was (}ue ofoeven 'BOB memborii,

      cuily had one vote she uould oust, had no exclusive control over any BOB decision, and was not

      rosipcmslblo for n soieuce-basod IB Diploma being unavuilabte to /^| SBB,

            37, /1B' Katlierlae, tiud Jolui SH knew 1'lial the IB Biology ulass /gB 9|^ wnuted- to

      take was cauceled. by Albany Hlg1i School bouuuse only ihree otlier sludonts registered for it,

            38, Even though Kntherine Mall(;5tBwns told mulliplfl rimBS tTinf AHS could not run a

      cowsfi for just four shidents, sho continued to iirgne publicly n( BOB nwolings aud in enmils t-liat

      /m iS|U was entitled to (!iis course- lliat the BOB ossoiitially owed this to her - beoimse

      "[fjhe 2017-2018 Course Book list's a iMghcr level [IB] aoiQjnce, We ktlow AHS has a qunlifled

      science lonelier (rakied to teach thifj higliar level B coui'ye, We Jiopo ShBBOE nad tko Albany

      City Suh.ool Diytriol will honor wliat's licon advertised ui Ity CoursoBook— yoar iiftoryonr,"

           39, KiU-horino ivlntle S1 nlso argued UiEit (lie "2017-2018 [AHS] Course Offering

      Book.,,is iuacoTirnto, Tt misrepresents college and career pathways avnilnble to sludents, Tliis Is

      not (he first year the Dish-iot innccuralely repj'ssented AH8 offerings lo stndenLs and pm'eals (cika

      tax|)a'yRfs), Tko 67-pago Course Ofi'erbgBook is thick, butwhnt aylually sticks? While my

      foons is with tho 10 Diplouin progrnni, I'muow also oudovg to learn tlio fiveyeRi' history ofeftob


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       ylii.sy listed ill. [iio book apcoifically; (a) wlinl yc?ir(s) was o»c1i olnss offered and, (b) how mnny

       shidonts enrollod/roceived a final gi'ado m onch o1nss?"

            W, Katharine Malle i^H said "[fjho 'Jnternalioiial r3nccaliu«'ento Diploina program is not

       clearly understood and/or apprecialed by some BOE members" and nocused the BOB oftlie

       v/a+ei'ing down ofAHS's hiternational Baocalaui'BnlBpi'ugi'aii'i,"

            41, Kalheriue Mnlle £^||veti(ed lier iinger ihnt A^SBg way nut being given a yciyuuc-

       based IB Diploma al HwBOE's volcj ('o rundLJROTG, wbore SH AB^ voted In tlio ninjorUy,

            42, Kathoruio Mnilo icfl@> oolnplaiitcd Ihal JROTC . • a progrnm tliai; primQi'ily bouofidGd

       shidontfi of color - • was being given too imich support as compnt'ed to ofhGT progfmtis; "[I]

      support the discipline and focus ROTC offers, but tliat equity, financifit transpnTency, and

      accoimtability must exist across the board wlffi nil programs" (Emphasis added),

            43, /fl|><flB; waa uever a victim oi'a lack of equity nt AI-IS.

            44, Ktitherlue Malle £tB|coinplainecl repoatedly about JROTC ftmdlng;

            "[I am] nol opposec/ to the ({iscip/ine and high expectaiiow ROTC offers" but was
            "however opposed to these type oj trip regiiosfs, 1 dm also oonGefned by the mmmir in
            which this board inipleinented the program mid-yecfi' with iig/iiening (sio) speed over a. year
            ago, fweklrcnmpare/icy and dccov.inlcibi.lit.y from the Boarci anc] this Dtsh'ict, At lliis time) I
            respectfully ask the Board io; (1) nuike public t-he entire finiincial liist'ory of the ROTC
            program (2) differentiate the amount'Atbiiay taxpnyers paid and how much the Fedsrnl
            Govornment reimbnrscd tnxjiayers (3) U|3dai'e taxpayers on progrum eiu'ollmenl and
            aonclemic outcomes oftlieso slndonls since the program';! hccplion," (UnlioR in originiil)

            45, Knthoriue Mtille SBB>lovel< co>iiplii)i'>od ntiont'the buses used fo (rnvel Q'oin Albaiiy to

      Eastern. Long Island for a Choir olsiss trip /^Sj- 'f participated iu, uor did she ask for ;
                                                                                                                  t   '



      academic outcomes or progfain csu.rollmentfoi' Cjioir class, 1 |
                                                                                         I i
           46. Jn fall 2016, AB> Kntlierino, (md JolmqH were yo angry Ihiil./flBrwus not \ |

      getting wbut tlwy bellevoil slio \ws eutillcd to thdt Ihoy bugan a inalioions, vin<!ic(ivB uampiugu,

      agfiinst SB/iB|, tlio perKon Hioy In'ntiounlly aud um'caso.aably decided lo blame for donyiug

           kc|Bt n soienco-based IB Diploma,

           47, /N> Kafhorme, andJolui^B| oampaigii iigainsl Sg iA^[was motivat'od solely by




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       uiilUue iiiul was without'Jnsdficiit'iou o-i' oxonso,

             48, /fig, Knilieiinc, and Jolin ?BH's porsojial vcnciotla against ^ /j|^sought to

       intorfcrc wi? ^ 'BB'5 porforiniinve other olected po>sllion and compel her to resign H'OITI Iho

       BOB, and to cause her EIR nnicjh cootiomio hat'tn as possible,

             49. AB, KdtborJue, mid Jolw SSB'i; oontinuous yeara-loAg veudetln against
                                                                                                           es? !
       was based on the knowingly falge and malicious ftlaims of wougdoiug by her olvilcl thai (hey i

       alleged SgA|||' covej'cd-up,

            50, /\B< Katherine, ancl Jolin ^U^ toolc stops l.o pm'Biio Flieir volidotta c1ni)i(losliuely an<l

       look point! (o iivoid nia1<ing stiilymenls publicly v/hicli could expose tlioin (o legal 'dolion;
                                                                                                                    I   !
       com.mimicating privately wifh other BOE inen'ibcrs they IhouglTil-would be sympathodc to (hem;                       I

       spreading nnnors to district families; hying to coinmuiucnlo wilhA-1-lS gnd (tiyh'iut staff

       secretively; ond orohesf'l'atlug oihors to do thou' du'ty work spreadiug false clalmsi so that Ihey

       could avoid nuy legal consequences for (heir innlioious couduct,

                  AB^JCulherlue, aru I liilm N1 T'll i,,Mnlicious Claiins About Choiiting

            51, Rnrngcd thut ABl<lBlwils ".ot going to grnduate with nn TB Diploma, /g| and

      Kiitheriue ^U|asserte^> a'tf Pin'^ 01* lllei1' in'dlioioiiK, vindictive compiiign to iuteiTere witl) Si

      /\H',s performance of her elected posiiioii nnd compel her to rostgu jTom (ho DOE and lo cause

      her as much coonomic hiirm (is possible, thai S^A|Hoovered-up her ohilcl chesitiug ui school

      when they both knew her child bad not cheated,

            52, lu fall 20J 6, whon >^| A^ was at AHS for un OVBUI In lliB nudilorium, yho lind ii

      convei'tiation wilh Ralpli Paptf, l;lic US History tGaullBi' for ABBC—nlKI (^/^|g'H oliild,

      Towiu'ds the end of (lie uonvorantioni Pape mentioned (hn( a group ofstudunts liad godon tiistory

      quizws from Amazon, He told Sg A^||Aat lie plnnncd to speak to all tlio students involved

      nud that her o1uld was ono of the student's, Pape oxpltihed Ihol ha hadnot wrilton tliQ qnizms, lio

      had not used them nnd was nol going lo use them for lug class, nud no cJiealiug liad oociu'rod,

           53, /^| ;BB k'iew no olienlmg occurred, The quizzes wet'e not B'om ABS; they were not

      created by (hoir leiioher, l( wa.s not 11 sec.ret, wlilch is how /H lcnrnect aboul It, j \
                                                                                                                        I




                                                       n               of,                      2'?             •   !
                                                                                                                    i I
                                                                                                                    I   I
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            54, But /(BI^BB ^lw^ ^ ^ el'^ ^ol'<? alKl couiiwiG<1 to say 8^ ABB'S chikl clieal'ed,

            55, A shoitwhlle lator, SBAllcarnecl thtit /fl| and Katherine &BB were still making

       false accusations about' her child and tlintKathermc Mn1le SBU went to AHS diirhig the sohool

       doy without' au|honi:ntlou. and walked around the school Irying to talk to teauhers/st'aft' about ^|

       /<gB>s °^ilcL SB Ap^isked that AJHS investigate, i® Aggil.so asked that KaHiBi'iue Malle

       £g@ be stopped frolu. gouig nronn.d AHS n-iiiklug fiilsu tioyusationa dboul i<J| z^^'s oliild,

            56, Au uivosllgdtion wns oonduoted byMiclinol Elliott, n Houso Priuoipal, wliloli, coafumed

       that the SjB's allegations of cheating were false,

            57, /U!m^ Kntheriue ^g were told no chealiug- occun'ed and t-o stop riie malicious,

       vindictive condnct

            58, But 4B and K-atheuue ifS^ did not ,slop,

            59, Listoad, on Pebniaiy 8, 20l7i K.atherine Malle SBi coirinctcd BOB mofflber Ellen

      Rouch,

           60, Kirtlierine Mnlle 3—said sbo wnni'od to make sure Roach was aware of'sorjons

      problems" atAHS,

           61, When Roach asked for olarlficntion, Knfherine Ma1le SB|rePeate(l the proven

      ffllseiiood l~hiU SBAJ^'s oluld was ohenlmglnscTiool nnct vloliiting thy uode ofoouduct.

           62, Kalhermo Mulle S— said ('lie code of conduct was ft "joko" nnd that "eiveryoue" at th.e
                                                                                                                      [   .
                                                                                                                      1 ;

      high school luiow ^•4Bili) <AHd way olwiiliug.

           63, Kailuu'mo Malle ic|B providsd Ronoli witli uo dolails nbout whol oltiHsoy or tosls 8g| I

      /^I'H child way sivpposodly chenting in, or any infonnntiou to indicnte how /Bl SH !
                                                                                                                  I
      d-iscovared                                                                   tills,                    !   i

           64, Katherine Malle SBI told Roach that H A^|'s primary renson for 'boitig on fhe |

      BOB| and for polenllnlly niLmlng ibrreelecli.on, was to prolect h&r child, ,
                                                                                                                  ;
           65,Roaolitoldfl|/'BivvliatKathcrlneMalleflB|Jiadyaid, ,' :
                                                                                                                  I

           66, Ou Febniiu-y 12, 2017, ^ A^ met with Kntlierhifi mid John SB! "tth8u' hom0' 9

            told 1'hom yhc way uvvm'o of their false alaims whioli originated with /B| —i ond th"t


                                                                                                                  ;II
                                                   S oj; ?,?
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       she wanted It to stop,

             67, &U/BB' romindocl Knthorioo nnd John ?BBtlinl'AHS liod invosiigntod (ind lold thoin

       their nocusaliong wore false,

             68, ^BAJ^ told them thai' she was not on tho BOB m order lo protect her child and that

       her child did not need hw protectlou.

            69, Kat'hermo Malle Sgg| deuied tliiit she yccusod Sg|AJ^|'s ojiiid ofoliealiug,

            70, Kathurme Malle Sp^doniccl tlint sliB SiiJd ^|A^Jg was ouiy un Iho BOB lo proleGt

       her uhlkl,

            71, ginooKatliorlno Mails Sgg did not ronm AHS trying to dig up du't on iind did not

      compliiii'i to Ihe BOB alwnt any of tlie otl'ier stndonts who bougltt quizzes on Amnzon, it is clear

      /^B, Kalherine, aud John EtB's malive was uol-related to theqi.iizzes, but to tl'ieh'inallclo'us,

      vindictive campaign t-o iriterfere witlt SUANBs peffoi.'mauce oJ.Jier elecled pyyitfon nnc]

      compel hor lo resign Il'om the BOE and to cause her as muoli ouoaomic liann as possible,

            /g| K.atherjno, iinil lnlm iH I I ill un yindiofivo Claims orprcfoi'ontialTrea.tmont

            72, Eiu'uged thnt AH ^Bi wa8 llot eoln8 to grrdui1^ witi1 "^ TB DiplomOi /|^,

      Kniherlue, nud John SBI (isserted, ns pnrt ofthoir n-iiilioions, vmdictive caTnpiiign to interfere

      wUTi SBAHsperformailoe of her elected position nud compolliert'oresigaii'omth.eBOB aud

      1:0 cause her as n-ivich eootiomic harni as possible, that anything good that happened to

      A^gs cli-ild was because slie was giving her child prefereulial troalmeul,

           73, In &112016, Kadierine MnllG SBBCOnincted otllci" BOB membors abonl -(B|/^|

      giving pji'efercutiut U'eiitmeul to her cluld whoji Hio BOB iipprovud his being n llfogHQi'd for +1io

      AHS swim tcnui os part of its I-Iunion Resooi'CQs (HR) agendn, even t'l'iongh Kal'herine Mnllo

      S^Btcnew ^'ou'1 l'e»<iing nlmosl' evBi'y BOB Agondn rtint tlie BOB approved the appointment of

      dozens ofshideut-lifegn'di'ds every acadeinia yeiir,

           74, In Jamimy 2017, KalherinB Malle S^^contncted Ihre? BOB niieuibws on their personal

      email acooimls, hslead oftheu' official ncooiuUy, asldug for tb.eir "coufidential feedbaok!"




                                                         10,

                                                    10 a£ 27
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QmEPr^EW YORK COUNW-qEXRK 06/01/2021 01; 03 PM) HWRX NO, 3.55^0/ao^
NYSCEJ? DOC, NO, ^ RI3G1UXVGD HYflGBE'i U6/01/202X




            "(I) Hll does page 4; Why is a fihuloul lisleci in llie HR DOOR as a YoliuUeer coach for tlie
            Albany High Football team? Many sl-udeuts volunteer irt many oapaclties at' AliS, Is a new
            policy in place wlwro sltident; volunteers are going to be formally recogirizod io Dislriol fER.
            Does? If this is tho case, mnny more studenl-s should on HR does 50 their college resumo
            reflwl that "offidal" recognition by tlio nisti'ict,"

            75, Tbo studonl in question was MB /tfilB's child, who was a NYS certified ossiBtanl

       football oonoh,

            76, Katharine Malle Sfigjlaiew fi'om reading almost every BOB Ageuda thnt Lhe BOB
                                                                                                                     iI
       always voled to approve coaches us pyrt oj' ity HR ageuda, vAothor In a paid or voluni'cor

      position, and did not yo.ustihite any kind of'reoognltion by the Distrlol",

            77. In April 2017, SgAgg\s child getling recogmlion as a member of the Varsity

      Mfist'erminds taanl, while AM SHB was on Junior Varsity ("JV"), fiirt'hor eiu'aged Kathorlno

      Malle 3B, triggering hor to writo lo (be BOB;

           "T have concerns regadiug the SNN Mastefmiad coirinnmlcation that came out yesterday, I
           uuderst-nnd you wrote it, I'm glncl thatyoi.1 sent out a correction nnd included Brin
           Lippiti, But your correotioD does not go far enough, Hero's wliy; There aro hvo wiiming
           teftius, ono Varsity and ono TV, Why doos tliis SNN only congrntutato one Mastermind
           Team? They (ijio) both whuung rocords, Yes, (lie Varsity learn will go into the plnyoffs, but
           why arc names of the Varsity toam listod and not the JV? Isn't it woi'th actoowledgiug the
           uudefesitcd JV team a;; well? More Import-ftntly; Don't a]/sliiclenls deserve mention? Here
           is a pLoto oftlio JV dud VtH'sity team taken last mouth when Albany Bigli hosted the
           competition, Please consider posting (ho photo on SNN duel ou Fuoobook and
           aokauv/ledgmg all Miiyteuuind studeuty, Ybat is llio i'ighl liilug ty dy,
           ICatherluQ 4/6/17" (Italics lu original)


           Afil r<''"t|ierine. an.ri Tnlni .'g^'s Pnlse, Malicious Cliilnis About Mnsi&

           78, Eiu'a&ed that AB|SBiwaK nof BOU18 to g"xl^l.o with anJB Diploniii, ^^

      Kntliorino, nud Jolm Sgl usserled) ns piirtuflhou'mnlicious, vincliotivo campnign tointorfore

      with Sg/l^|'s performance of her elected position and compsl her to resign from IhoBOE mid               I ,


      to oanso her ns niuob eooaomic liarm as possibki that: Sue Adlor preveuted /^| lctB fi'om

      participating fully m all AHS inusio oppoi'h.mfUes iu order to bonetlt S^A||g'g child and haria
                                                                                                                 ! i


      y.   79, /BB, Kytlierine, nnd Joliu .'•H; luiow ihe reason /B| and otbor stndonts had to chuoso



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I'l'i'SC&'I.i' B0(.!, NO. 'i RECEXVIID NySCEll? l 06/01/^021




       betwoua two music olnsso1) scheduled al I'ke yiuno tlmo in sonior your WtiH (l.int fiiudeiitB waro nol

       ullowed lo take two classes nt' the sumo liine,

             80, AHS ndnuuistrnllon First discovered the issus of sludonl's taking two cIaNsos nt ('ho Rfline

       time during a Music Depm'rnionr review in Spring 2017,

            R1, Tn Spring-2017, the BOB was aoliQod of'the ksue ;iml uoiTeoled U ns of die 2017-18

       academic year- the yenr /IBS— (ind SfiAJUB ol)i^ we)1'9 seniors,

            82, ^JAJH^H oUlid v/as not registered for two music ulus-s'Bs sii'i-iultauoouyly tbr l-hu2017-

       18 iicodemio year.

            83. ^B ^fiHI was rcgist-orcd for two nntsio yliiasos simultnnoously for llio 2017-18

       acndcmlo yetir,

            84, /^S VS w?is one of two piBiiists in Jaw, Band cla.s,s, The olher pianist was ^

       A^gs child, Sinue frcshmiiu year, (he tv/o pianists liad to Hplit tlio plnylng-Hme, -^BI^IB.'

       liked to push ^B/!ms °*uld Q!sf[^° Pltlno benoh, AH Sg| would not gel up Iron-i (he bench

      wlien it was time Ibr •tB/'B||s °liild to pltiy.i ilncl /ftt— Would pusli his hnndy nwtiy wlien i

       he                   tried                                topltiy,                                       '   .

       85, By scuior yonr, Ag| SH hnd sung in Jazz Bnud as imioh os or more Hinn she hnd j
                                                                                          I
      pfnyod                                   piano,                                 ;
                                                                                                                    I
            86, /fl ^B| cliose Albanettesi (lie female a yypella group, over Jazz Bond,

           87, /'Bl KHtherine, iuid John SHwore iiugry A^wa,s fot'ce<l to mnke a uhoice between

      JQZZ Band and A.lbaneHes for Uie 2017-18 acadomlc ycnL', ;

           88, /^Bl K— uovor lost l1io opporhinily to purtiuipulo in nil tho muisio /vI-IS liucl to offer, |

      EYUH lliyilgh iilio didu'l cUoosoJiizz Baud, she could still poi'ronu with Ihoin il'she leiu'ned the

      music outsklo oFoluss,

           89, /0| i^|| availad her,self of l1iis npportunity and perfoiTOed with Jazz, Band during

      senior year, Slw played piano aud sang with t1ie Btind tiuoumpanylng her at a conple of their

      pcrformiinces,

           90, Evoii though this uiitiuge Iti music otnssos wus ol' grcnt Importnnce (o ^H, K.titherlno,


                                                         12

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        and Johu Hgg oncl even though Kntlieriuo Mnllo 5— umde it a point to iitleud as .itiauy

        moolings and oveut's at AI'IS as posHiblo, ^^1, Kathorino, tiud Joliu. EBB; did not al-tcAcl a

        meeting with Superjntendent Kaweodn Adams held with families in Fall 2017 aTioii) Hio chnngo

        in music otnsses,

             91. The paronls wlio attended fho meeting were fl'iends of AH, Kathoriue, and John Sfi|

        and ^YllOse ohildreA wsated to take two mnsic classes skaullaueously,

             92, K'USHBBI one ofAg 1<~JBES ^esl' A'iendy who was nlso a setiior, altondod dllliuugti

       he. was not oven affefsted by lhi8 clmgo,

             93. At tho mootiug, i\B| -I— au<i the paronlB repented the same fnlso clnims Ag|,

       Knlherine, nnd Jolin SBi^r* tnvented, niimely, that students wero losing rmisic opporh'inities

       because ^| '/*>B' was abusing hor BOB posiHoa to prot'ect her child and harm AgjS^B

            94> /^B, Kalherine, aud John ^BBkiiew tbe conrplalut thoy seat others to make was fal$e

       and thsir not atlonduig th.o meetmg w&s a iTauspareut attempt to uvotd tho cousBquences of tholr

       malioioua, vmdictlve conduct,

            /JKJSatlwriue, atidJohu ^H'sFnlsQ^MaliciQUS Claims about Sexual'[-iQi'assmojlt

            95, Thevondettn A^| ICntherlfle, and Jolm fff^ had been waging ngalnst ,'^/|j|| since

       their dream ofA^| getting a sdence-bnsed fB T3iploma ended in fall 2016 acceteraled after a

       May 22, 2017 text between two boys tlmt S^AH^S child novor scui- t'o and never showed to

        •I
            96. On May 22, 2017, durkig an AP US Hiyt'ory lesyou Ihat Inoluded a discusslou of

       President Clluton and Moiiicn Le^vulyl{.y eugtighg iu onil scXj nuoiher boy, V^BB :!V1 aul(:l

       S^i A^||s child had a text ooirm'sado.u. nbonl sox with two girls, OIIQ ofwhioh was /!^| ^BB-

            97, /U, Katboi.'ine, iind Jolin qB( latawtliat S^AH-'s G'tiH.cl nevni'KRnt t-he text to /^




            98, 4B> Kathoriue, and Jolin ^BB knsw that {•Jg'^^'s child n.ever showed the text to



            99, AB, ICntheriue, and John Sgg lcnew thilt SB> /4|US <!^1^Jli8vyil'S0nt ully ^xl.s witli


                                                        13

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        Kex-nal coutonl to Af^fiB,

              100, AjU> Knlhorlue) iuid Jolui I'gggjluiew thnt S^ /^|||>s ohild Jiiovor oo.iit ati.y texts

        with violent Ihroats to AB^BU
              101, /H SH^nly saw tlieMny 22, 7,017 te'xl-beaiUise HIB other boy later Kliowed It

       to Jier,

             J 02, Ag| Kathcrme, and Jolui SBS did uot oaro if V/m/ }s^|tiufforecl any

       cousequencey ^'eJatecl to ttle text,

             103. /tBl, ICatherho, aud John VSE^ luiew A|@g(ggwu,s' not u viulliu ofyoxiiiil

       harasHmont,

             104, Motivntod solely by the malice fliey t'e.[[ siuce A^.^H' dropped out of the TB

       Diploma Program for which Ihey in'ntionally and unreasonably l>1am6d Sgl/'^BI ^IB'

       Ktilherine, and John SiBknowhlgly and intent'ionally spread fiilse clams that SUA|US "hi^

       sexually harassed and made violent threati) against several girls, iuoludmg A^j <^f^ aud that

       S^A^HI-svas abusing hor BOE yosltioji to cover-up for her oluld,

             105. /H, Katherine, iiud Jolui HBBf.uiew Ihero was nol'Ling to cover-up,

             106, ,^B ^^Bi'led to get othor it'>d.lviduals to aloo mako falss olaims iibout |B j

       A|^K cliild and to Hle false claims wit'ti AI-TS; (lie more cliiims otliel's could be Influenced to j :

       make up abonl S-|| AH,<! child, the morBftie! for /^g, KoHierine, and John ^|B|'s vendottrt !

       agamst                                                   8|(                         AH,                   '   !
                                                                                                                           I
            107, A frioad of cg. ^ffs chitd tfexlcd him; "(^1(-—, "||autl au of th6tu

       iii'e trying to Uke plot and get \i a Iicaviur pnuislimunt Is what I'm licarmg." rJ*ho fl'toud ulyo yaid
                                                                                                                      III
       Ihnl girls woro talking hi the hully and whoji tliojEriondpHsscdlhQy said lo be (juict so fliat £|B i i |
                                                                                                                      I i !
       -A|B'>'i oliild wonlcl tiol' fiud out wliat they were siiyiiig, ! !

            108, MB f|^° ^'iei^ /*IIB ;BBCOnv^nce(^to malce upa false report' of sexual

       1iaras>sment against ^| /lv—s "Mid, recsui.ted when shty was confronted by proof that sl-ie had

       lied, 'hJB S|B| asked thst the AHS adrnimstrator uot tell Iw (S^|>s) mo^r.

            109, One student reported Af^ Sgj mtcniiounlly falklug loudly about S| A^-'B


                                                          14
                                                                                                                      1!
                                                      14                    o£                   VI               \   '
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nyacGj? noc, NO| 2 REC'BEVED HYSGRI?! o6/o;i./ao;ii.




        child lu I\UI SBB Jn ^w libnu'y, tiuol'liyi'j.'epoj.'ted AH ^Bl tl'iod to talk to liim in tho li«ll

       about ^ ^ffs child, mid (uio'lher sslS /BB^1; rovoalod conRclontlnl personal informEilion

       about ;U Aflgy child,
             110, That 4H '^Urw9s iiot' ^ 'victim ofsexu-iil hai.'ftssment: is imdeTscorcd by Jier

       showing up at Albany City HnH on May 23, 2017 - the evening yfier V^BB' ^VUf yliawod hw

       file priviU'e text ~ Jlbr the Mayor's atuuial eveut to lionor lndivldiiQl yludeuts aud yludeul groups,

       TJie y-uiember ARS Varsity M.nstermJii.dy tctim wii.s being honored and getting ueflificatei! from

       the Mayor, A® £^1 was nol a member offtio V{ir»sity team, Sho wfl,s n mcmbor of (ho ,TV tenm,

       S lie wns not- bolng lionored niul s1io was not getting a certificnte, Slie onme {'or a plioto op vvilh a

       learn slie wns not a momber of, knowing SgA^'';i cliild Wiis s\ mombsr onhal lcam ;iud would

       be there, mid inserted hei'scli: fl'ont and center into tho phol'ogfaph, just: a couple orfcet owyy

       from t;BI'U;i child,

            Ill, Even though /BB Katherme, and John ^U knew ^B| ^BNWll{i SLO^Q y8Xlial

       harasKincnt victim, as (lie next step in their yeiu's-loag psrsoual vendotta nguiust SBANB| they

       Filed a Dignity for All Students Acl (UASA) aotnplnht against ^| /^|\s child iind oontinued

       to nllcgo S^/BI abnyed liev BOB position ty covering up sexual linrnysn-ient. Ihcy know never

      yucin'red.

            112, V/licn (heir DASA coi'nplnint waK denied after a ('hoi'ongli nud lndepondenl

      invesi-lgalion by sm oulsicto export) /^ti KnfhG)'iu<?i E>ud John ii^||coalhiued fheir inolicious,

      vindictive uaiupaigu agniust cg -''BB' by clall^lug ihilt (•lie investigntioti w'<iy not biased,

            AB ^iiGi'luy. nucl Jolm S^|yli'alse, Malicious Claims About Sa'fetx

            113, When sol-iool slnried «? ngnin In fnll 201 7, /Bg Katberine, and Jolu SBN

      continued tkeir persoml vendetta to iulorfere wilh SgA^^s peiTormance of her elecleij

      position and compel her to resign ffom the BOB and OHUKC hor as w.\wb uoouomic damage as

      posslblo by nialdug fetso oomplnipts tibont {-m/^js oliild In tin nt'isnoceysl'uL elibri: to creato

      ovideuce thai 4B HI u®Gcl°<1 a safety plan because she was being victimized and tliat S^

      /B| was covering It up,


                                                          15

                                                     IS oC 7.1
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MVSCEt? DOC, NO, ?. REaBXVBD N,30131.'l 06/01/2021




              J 14, ^H Sgg lulcnttonnlly nitide a false complaht In co-iuicctiou with ihe Soptoiuboi'

        23,2017 HotnacouiJB.g footbinl game, /H E(g| \Yim(ed lo yiug (bo Natioual Aiil-hon'i, Shp

        know thnt S|) A|BS °lul(l llt1^ I30011 (m """isllllLt footbHll coach for 3 ycnrs, Slio falsely claimed

        thai i®. AUJS uhild stood near her on llie Fluid, Photogrsip'lis nnd eyewitness reports pi'oved

        Ihiil fl| /BB's <i11il<:l d^ »oi' s^nd nw /HB t<BB' ^NS's investigation couch-idod the

        complaintwas unfoundsd,

              115, /JJ SflB; Juleiutiuiialiy mado a fnlsc uomplEiuil in co.tuiection wilb licr slauding

        on Uno for a soiuor meeting on September 26,2017, A— S^B uluimcd thul. fgj /^y^'s ultild

        uut in fl'out of her, Video ovidonco proved Ihol', whilo ho cut in Uno, ho did not out iu line du'ectly

        in fi'on.toflier, be was not noxtto lier, nnd ho di<l not oomo in contact with her, AHS's

        uivesUgation conchided the complaint wns nnfoinKlcd,

             116, /BB SgB; iiitentionnlly inads a fnlsc complaint in conneolion.v/ith SByUB!i

       child boing atthe October 25, 201'? Atbauy Fmcl for Bciucsiliou Gala, 9g/^|H child was

       (here playing with tho Jazz Baud, He al-so Hang with the Meu'y Buyumble, /•'^ 'HBi S(1U6 w^l'1

       (he Albaniittes, SB^BIwas ln iiltGncliincOi as was Ihe AHS Imiovallou Acaciomy Priucipitl 1 i

       JulioBurbor (uul ynothoi' AHS udininistralyr,

             ,117, During the singing performiinces, '<By|B|s cliitd wfis not nenr /j|j IS|B|

             1,18, A( tho end of the niglit, after every other stndeut had left swept for ('hose playing

       in Jazz Bond, A^ ^BB climbed onto the snicill stnge where tlio Jazz Band mombers were and ,

       stood steps away from 5B/sflB|(i uhilcl, Jolui Sff^ was in Uio room willi au nnobslructcd view {

       ol' wLat ]iis cinughter wafi (loiug. AHS's invcsligalion caucludcd t'ho conipluht wns unfounded,

             119, /)BI l(~ilB1 i»to"tioi>(illy niitdo n fnlso oomplaiht onDecembor 15,20J7 Lu j
                                                                                                                          ! j
       counootion with vi'iilking iu n hnllway in AHS between olnsses, A||| olaii.ncd that ^| /^^'s I j

       child crossed paths with her, Video evidence showed -that it was /^| S^j who chose to mko a

       different roul'Q to olnas than she tookpi'Bvionsly tmcl that'] regar(lle,ss uJt'lhis fact, ^•/f'K

       child did not come uloso to lier, AHS>s investigiilion oonclnded tlie complalnl was "nnfom'ided.

            120, ^|, Kythoruie, and Jolia £|^ insidD a False ooinphiiut t'hat A|giwedod socutity


                                                         16                                                       j
                                                    ,      Ki                Of                 '^7               i   !     i
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        to proteut hot' fl'om c'g /^g|'s child so that a\\o aould perfonn vvifli Jtizz Biincl iit (liu Albnny

        Foundor's Day Gain on April 27,2018,

             12L /fi, Kalherino, fiud J'oltu ;JBg; •l<now SS'fl—^s ohild posed no snfcty conccrn>s

        to AH nnri tliB reqnos't for sonurily was deMiocl, A|||, Katherfne, and Joiin flM^ wore told that

       Principal Jodi CommerCord would be alteinl'ingflie Gala,

             122, /pBS KaflwriiiGi and Joliu SJ^g roade a false coinplsint that /® £fiB ueedtsd

       Bcom'ily iu a (rausparenl: aftonpt to bolKtcr Iheir ii'ialicioiis, viudictivu cainpaign that SjjA^^ ]

       was abusing her BOB poyiliou to prulucllwr ohlld (ind to hui-Eu /gB f.

             123, 11 wns iipparonl (lial A®, Knthcrmo, tmd John Sgl Hefl nbout {-lio uocd for

       security or a safety plim oftd nsod 1( sis a sword (o inlerforo wit'li SflAHj's performnnce oftiRf

       elected positloil and compel her to re.slgn fl'om the BOB and to cause her as much economic

       harm ay possible, rather than as a sliiold to proteolA^,

            y^^jCatheijnu 11 n I Ti 1m "^|'<i Attempt to Porue (^|'^^' I'l ii iiiili a

            124. Eiu'agBct thnt yl^|vay not going to grndunto witli aa 1B Diplojua, /^|,

       Katlierlti.o, aiul Johu —;, iu Fall 2017, colludcd with Kouii.etli ("Konny") Bmco - n disgrnocd

       bnnknipt fonnor BOB member forced to rosign after t'ho BOB obtained a legal judgment ngainst

       him in Now York Slnta Supromc! Courl-for disclosing confidential in'fonnadon in violiition of

      Ne^Y York State low - to interfere wil.h ^ /Hi'" perromtanco op her ulecled pOBition and

       compel her t'o resign froin Hie BOE and to OOTKQ lier ns nuioh oconouiic harm as possible.

            125, ^B> Kathoriuts, and Jolui ^gBcolluded w? Kenny Bnico boctiuao they

       believed lie slinred (heir roseutmout dud vjiKllctivtiiiosy towiu'tls S^/"*^|||itiid Iho BOB &))• j

       forcing httu (o rosign fi'om the 130E iu May 2017,

            126, /flB| Knthorine, »n<l Jolin SB|colhiclc<< with Keiuiy Bmce becmise tl\ey

      beliwed lie would wllHngly lio publicly wilhont nny oonosrn for consequences Binco ho had a
                                                                                                                I
      mvltlmilUon dollar baiilmiptoy (ind wasjudgmenk-proof,

            ^- <Atil) Kathwine, and Johu ^BB|wefe 1101 judgmout-pi'ool:',

            128, ^^B, KatliorJne, and Jolih £|^ lyiew Unit, If (hey |)iibliuly I-IW(IG thfl fntse cldiLiii,


                                                          17

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        they had been pGrpoliiiiiiummvuloly miw fnll 2016, Sue Adloc wo«1d suo tliom,

              129, /B^ Kalhorinoi nud Jolm tB| oulisted Kojuiy Bi-'uco to attend flw November

        17, 2017 BOB tneeling t'o do tlieir dirly work iind spread their inaljcious, vindictive claimiS nbout

        SflA^' and 1ier child mid to (mil For SUB Ac)1er to resign 'Q'om tho BOP,,

             130, ^SBi Kal'horine, nud Jolm S|B maliyionsly and vmdiclivtily ina(J& Fiilse olaiius

       yboilt sexual harassuieuf, violeul threals, silfety issues, stealiug oftoste and aiitiwe).'s, (leuial of

       music opporiL-iultlcy, and proforonllal (rontfucnt and sentK.omiy Bruco (o « pulilio BOB niuetlng

       ulicnded by iliBJr ii'ieuda ia order lu knowingly Inlsoly nccuso SgAJ|| ofviolnl'iug lior oath ond

       abusing hor office by covering up her chlld'ti wougdoiug aud to call on her to resign her position

       inunedittl'oly,

             131, 4B Kafherinc, and John •':—t>l'ovic^ r<'e11ny Bnice with information that he

       would not havo obtained otherwise, /,e,, theu' false claims about quizzes smd chenliug, lost mussiu

       opporhitiilicii, sexual IiyrassmBiil, sohooL safety Issues, and pi'eferentia] treal-meut, and covor-ups,

             132, 4fc Katherine, nud Joiui S|B|Pl'OVKIO(i Koiuiy Bruco with tliOvSO fn1so olnims

       sololy out of malioo i-ownrds ^B'^Bi

            133, /BB ICaftierine, and John S^|provided Kenity Bruce willi these false claims

      with I'ho knowledge and intent ihathe would use them against ^B/^B lo inl'erfere wlHi her

       performance ofhor elected poyitiou. and compel her lo resign Crom the BOB nud to uai.iyo her ns

      nmuli eoonomio harm ay possible,

            134, Kiilhorino SBB.l'aroly iulsisod a BOB meeting, cspcuially ifthoro was going to bo

       any diycussion or public uouuuenls un nu issiio she wns intoi'esled m,

            135, /B|, KnthoHuo, nnd Jolin S^|intenlionnlly did not appenr nt HieNovombor 16,

      2017 BO'K ineQfing whore Kenny Bl'nce spolce n( public coinineiU 1o lodge false claims iiliout S||

      /Bi her child, and thyBOB,
            136, TJie false claims K.oiuiy Bruce publiyly rrtado at ihu nieelliig \wte vu'luatly

      identicftl to the those ^|| Katherlne, aud JoJm ^H had made since Ftill 2016, just ns divoroud

      from ronlity and cinimaliugJl'om the SWIQ fatso proLnisos, butembolliKlwcl for Ihcgt'yn lest


                                                          18

                                                      10 oC 2^
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        salaclous iind malicious impacl and For ilio most damage aud eoonoinlu lun'm,

                 137, Wktsro Afi Kallioriiiu, tiud Jolm ^ggmado false uliiims l:hnl ^ A^| covoj'cd

        up lior child'a uhonliug ou quizties in AP US HiHtory, Komy BCTIOO falsely olnimed [hal ^

        /^BBj's child stole IGSLS nnd nnswors, i
                                                                                                                  )j
                138, Where A|B Kat'herine, aticl John Smmade falso claims that Sf^ A^| was

       prevonting /^| from parlioipntu-ig in mnsio opporlunllles, Konny Biiico falsely claimed llml' all

       music ahidents were being doprived ot'music opportiiuitiey becanso ^B/UB was 81Jus'>'ig Iwi'

       BOBpoyilion.

                139, Where /^, Kal'kenne, imd ,)olui MaS made fa1so ojalms tlinl /gj noudod n

       safely plan to fool uomfoi'lnblo nt AHS ovon (\s she uliose to bo iu close proximity to S^/m's

       cbikl wboil it suited her interesls, Kcnny Bnioe falsely clainied llia! S^AHfs child created an

       nusnfe snvironnwni Ihroiighoul n more thau 2400-stndeut school inxd sexually liBrassed inuitlple

       girls,

                140, Many friends of /tB| Kallieriue, iind Joiui S|^| wore presout nt [ho lueotuig,

                141, -Afl. Kiillieriue, iind John S^| wurc gliiuugly ab.sont frum Itie myolmg.

                J 42, After Rynny Bmoo fol'osccnbly ombolliajicd tbo fnlso olnims A^|, Kfilherinoi and

       John Sgg gave ^jm lo yay nt' tho BOR meeting imd called for !^| /BB'S rcsi8i'iaiion [i'oin the

       BOB, District Counsel Jeffrey Honey-wdl stood up and shilecl:

            "Pvfr. Bnice ,,, As always, it's safo to iissmno I have a lot more facts nbonl (lie sitiintlon rimn
            you do, So I just wish to stnto on 'belialfoftbc BOB thai yow 'dycusadouK iu'e false,
            mnlioloi)!;, mid uufoundcd iind rGalty .should not bo ropeated,"


                    ^B^^Kiltlioriu". "t^ -l.o^N-srl!'i Goutiinied VoucloHa.

                M3, Bnsed on /H Kntli.oriue, and John S^^s malloious nud vindictivo ycars-long

      campaign, il was reasouablc for ^ /gB-to beliove they would try rr> Inleifere with lior chlkl's

       college nppliciitions oud aocepl'anoes in order to caiiso hor economic hdim,

            144. Beginning in foil 20,17, S^s AH laid certam people who were fi'ieudly with

      /t|, Katherine, iind Jolui £^| ('hnl her ciiild was applying Restrlotive Bm'ly Action to Slnuford



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       University, oven tliongli that was not true,

             l<'f5, EVOJI though >CBA^r;i child diyoiih'yed with some clussmaloy tliu uollegos

       whom 1io plnnned lo npply, ^| /BI' insimoted her child (o lell people iu Ml 2017 thdl ho wnR

       applying Reslriotive Early Action to Stnnford University,

            146, On Docomber 15, 2017> I'he day Stanford Universily Issued i is'Rostriotivo Early

       Action deoJBloiiSi /^Bl Katlicrine, atvt Jolui 9B^ tried to find out iFi<^ Ag|-'>s uhild was

      iiouopied,

            147, Ontoccombor 15, 2017, out of the blue, one ofy'flBSgl's bost rrionds, nB

      I'll, lcxlod Sgi Am,s child a( 5 p,m, to nsk if he Wiis accepted at Siimftml Uuivorsity, ! !
                                                                                                                             I i
            148, MBHUB111^ ^B-^BB"'" °*11^ WGl'e llo^l']euc*s'^ley^I(^1'0*iioola^7'8'l'*I^B i i

      M— and H A^\s child did not have any reliitlonsliip where rticy would toxt eacll othor )

      about                         getting                        into               college,                   :           ;

            149, Wheu £g| /B >'l) ohild told {1 •I-f' tllai he had llo+ heal'd yet> MB H1 ^

      einphasizocl that StauTord Ujiiversily was issuiug dccisiouis at 5 p,m. ~ a fad he was very familiar

      with even though he wuy not applyiug there,'- ;
                                                                                                                         i

            150, S^ ABB|old her child to toll MB.timthntthG5p.in, time was Pnoifio not j |
      Ensl'om Sttmdnrd Time fio Ihui hor cliild did not have to engage furllier wl? Jvg 1'— i ;

           151, Tlu'GB hours 1(itcr, al 8 p,m, Enstoi'n Standard Time, ?Y^; F^^gain texted ?g|.

      /SH's childi fisking if1ie had heard from Slnaforcl Uiuvsrsily, ^ Ag| luld hBf uliild to repart ,

      ihat lie hyd biionrejeoted,

           152, In or about P'cbniary 2018, S^ABt loariiod about "ulionynious loiters sent to ' :

      uullogos '<B/^BI!i °^1^ wily appl.ying to iji un ullempl lo uegnlively mflucnuo Ihoir nccopting I ;

      ^•/n'';dlil'!.                                                                                         i   !
                                                                                                                               i

           153, Tho letter repented the same fnl.sBclRims/gg Kntlierlne, mul John ^^ had ,' ,

      been making continuously sinco fall 2016 regarding ^ A^| iih'ing tier pofiilion as BOB l

      Prosldent to cover up for }w child, I ;

           154, II was reasonably forsseenbb (hat a letter with Ihese falso claims would | i


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                                                      20             OS.                        27           1
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        nygftlively Impact the aooeptauoe deoislou oi-'any coHoge Sg|AgH'.s child way applyiug to and

        would oauso cooiiouilo haun to ^| J/UB w^0 as il Pill'outwrls legully respouslble rur Iho

        Tinunolnl support of her child inoluduig, among othoj' IhiugtS, appliuatiou 'fees, collcgB tuidon and

        foos, and Boholnrshjps,
              155, As n result of/t|, Knthorllio, nnd Jolui ?BB>S I01'!10"5 uoii(hiot) i^BABB1il'c('l

        a |)i'lvale lnvestlgiilor related to tht) ciruuiu.slnnuGy {iLirrouucling college iipplJcaltous and

       nycoptauoes,




             /fi| Kiitliertue. and John SJHls Continued Campaign to Forcn .IffiAgBJto Resign

             156, /fiS| Kathorine, find ,)obn SBU conlinued (hoh- lualioioiig, viildlotive oaiTipnign

       against Sg /I^B by trying to prevent her frotn exoruising her anlhorl ty as President at the {
                                                                                                                        I
       Albimy High School June 2'1, 2018 gt'acUinlion nud by trying lo foroe her to resign fl'om the BOB, ]

             157, /®, Kalhcrmc, mid John f|B tried to got a petition by paroiiiy imcl >sludonls .to ;

       preveut Sgj /H fl'om speaking HI grndnallon imd lliey lu'gecl BOB members lo prevent ^

       /flH from iipeaking at graduation, ooulinuing lo falsely claim thai Sg /s^| abuyed hor BOB I
                                                                                                                    I
       poiitlon to protect her child,
                                                                                                                    I
             158, {Cnthorine Mallo SH contaotod Superintondefit Kuweeda Adiiins nnd let; her

       know that the shldenl.s woi'y llpsol thai AHS Principal Jacli Comjuerford announued at their first

       grnduation rchear»sat ftey conld not engage in any protests at graduation, j

             159, Several dnys boFoio grndiiiilion, Agl SH iiutidled a meeting with AI'IS |
                                                                                                                I
       Priacipal Commcl'fordli Thoiuccllug wns solely !i( /^|| SBBI'3 bohcst', /4BJ ?tB|t°^ P>'i»°lpal
                                                                                                                I

       ComwoiTord thai lliu pohlt oCmu meeting wus to ronii'sure Prinoipnl Conunorford Hiero would uol
                                                                                                                I
       be any dimiption during graduation and there was noi.hlng to worry about, i
                                                                                                                I
            160, ABji^Bbyked For t'his meeling vi'ifh Prinuipal Cotnmoribrd iu ti trnaspareut 1
                                                                                                                I



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        uKenvpi to appear unlimilved utdlsniplluggritduation and to try to avoid tlie consequences oflier

        and hor parents' maliciom', vinciiolive cnmpaigu againsl i^| /^UI

              161. As S|; /^g begiin her graduation spsooh, i'\'BB]BB' an^ CBB('BBBU h'vo of

        Ag| t<m's host friends oealed in the front row, disrnpted grndiialion by standing up {iwl turning

        thoirbiiuks on Sj|A|^. About n dozen >slndonls joinud Ihem, 'Wiieu (m ai.u-ionncon'icnt was

        mado for Ihe studoul's to sit down iind GHC—fi;iti;ll'lc<l to c""iply» ^/B I-^^grabbetUior

        ami and pulled her up to pfcveu.t her fl'oui Killing clow.u, Tlio two of tlium llicu led uloioyl (he

       entire student body iu turning their backs on 8p^AIMaii she coullnnecl her speeds on racifiiit,

       amid yetiing and soi'ciimuig nud mayiioin I'lu'ougliout the UnivemLy at Albnny SEFCU Ari-iua,

             162, MH T—'K father, Christian HH||took a video reuording of the stiidenls

       turning their bucks on ^ ^^B as slie Irisri to give her speech, HH gave the video to the

       Times Union and cormiumiciiiycl (ho fiilye olajin thnt It was n protest by stiulents against- E^

       /tB| booauso she uovcrod up soxniil liiu'ossment ofsovorsil girls by lier ululd,

             1(53, Whcu a TJnios U'uion reporlur called Sg /g(|for uommout, l.ho reporter iokl hoi.'

       ihdt llBBhad not provided any evldeucc to support the claim and (liai !he Tiines Uniou had no

       oviclctuce in support oftho olgim,

             ld4, Sg /^jtold the Tin-jes Uuion tlie reaHon no evidence wa.s providcc! was that

       none existed; there was not a slu'ed of evidence that any girls wore seKiially harayiiyd, the Hf^

       fnmily who gsivc tho video to tlie Times Union know the claim was false, and thifi way pm'l of a

       yoEirs-long vondoHa by t-lie HBBj clc><ie ji'iends "•'f KiiHierino, suirl John •'^Bl- ngninst S|




            165, Tiic Times Union rail on Its wobsito tho vidoo MT.—'''' Fatlior rocordod oncl n

       web (irliole, nlony wllti a frontpage nowspiipor nrtiolo abuut llie ytudeuty standing and tui'mng




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        tlioir biickn dnrjug SBABSs spoech to protest her ullogedly oovei'iug up for au uuidunlified

       st'udsut,


             166, Tho Times Union nlso qnotod Albdny School District counsel Jeffi'ey Honeywell,

       who ropenled whnt he pnblioly RtatBd at the November 17, 2017 BOB meeling; the accusations

       ngaijiRl- SgAfigworo "ftilyo, innlicions, nud uufouuded,"

             167, As a rosull ofAfi| Kal'horinu, undJolui SBE'S lorlions oondnoi Sg( AJgj liu'od

       aprivnte InvestigHtor ryluled lo thu ciruiun'i lances yurrouudhig graduation,



                      Kathsrme, nndjohn SBB.S Post-Ornduution .Malicious, YJtitllclivB Giiinpiiliyi

             168. Even after graduatio.n, ^R, Kalhenuie, nu.d John S^| conlin.ue b oullsl olhors to

       continue to Imass Sfi /^fi and cause her econoiulc harm,

            169, Three limes, in April nnd July 201 9, .—| P— sent harassing' texls, Irymg to

       Lldo her identity by sending Ihcm fl'om an old computer numbor,

            170, Jflt P—B'va*ti ;In A'IIS slu(iont who was i' ycat' boliind /H ^H mid ^p

       /flH's cUkl,

            171, .fBi iBSi was fl.'leucls with Ag|ilBB|ind lier brut'hor uud Ag| SH|

       attended the same college,

            172, BBS WB "nl:l EB 'ABils cllilxl were not friends,

            173, JgBU Pfl®. demandocl to Imow what Sg AH'R child was doing, wliaf wero

      his college plnns in 2019 and in 2020, and refnscd lo idontifyhei'SBlf,

            174, JBBU' 'PIN £l^°Rel^ ll^'E*'I!sing toxts aboul whetliBi' ^jA^js child about

      wns oonooivod Ibrough In vih'o fartilinot.iou - aolpublio infonnatioM.

            175, It way ruusonnbly forcyueiiblo lliftt A^| Knlhej.'inc, iind John EBB5 couti»l.ioiiii

      pursuit- of their vtsudBtla against Sg ^ff would oauso Jior to lake sltfpy uecessary to pl'evoul




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       their esoiilating and relentless hai'aKyrneDl: other family, inoludiug forgoing Al-IS sdiolarslups Jier

       child was awarded becausB the soholarsliips required disclosure of personal iuforrnat'iou to AI-IS,


             176, In May 2019, a Times Union reporter uonlaoted 9^ ABB" lo again levy UIG False

       accusations tliat she covered up wrongdoing by .her child and f'hat the shldent protest al'

       graduation wns for her wrougdoiug, The reporter indiya.ted thnt whnt triggot'ed (liis onll wns the,

       4B fsiinily liad coutaotecl the U,S, Departjnont ofEduontion lu inako ftoss snmo accusatiuns

       and it was reasouablo to boliuvo li'om the coirvoi'Knliou willi the ruporter llidt Uiu fcUI fiuuily liad

      infbl'med the Tibnes Uniou ot'this fact:,
                                                                                                                  i '
            Actual Rolgtiofishjp botVi'osn ^BIBBN ^*S| and ^g -Afi§'s Clujd

            177. AJ^. ^SS an^ 'Bl A H|s child were fi'leuda for 2iA years, from fi'eshtniiu year

      to the middle of Junior yeur. Thoy referred la eaoli oll.ier as "complicated" ft'ieiids bocauso /fl^

      .'?— bullied ^ ir's c^d from iresbmnu year (20.14-15) tlu-ough most ofsopliomore year

      (2015-16); in fall sophomore year (20 1 S), ^ /jfffs child wroi'e a sex fantasy that he never

      showed to A|| bnt shared wit1i ons of his male frionds wliom he mistakenly Ihougbt would keep

      il private, After /^U l-conwd aloiit: it thftt year, CB /lNB)lti °h1^ apologized and /H nud lie             ! i
      remained friends, Before and after that, <AB| st^ came b hls I101'86 foi' pai.'lie.'i, 1-iwited lllti) to

      iterrecllnl, aud slmrecl personal t'hiugfj with him (2014-eavly 2017),

            178, After the first Summer 2016 party (botwcon. sophomore nad juniof yoin'y), /SSJ i

      3^S "'^od S|> A^|[y child whou he was Jiavlng anoflwr pnrty I'liat sutnmer, toUing liiiu "Tlie

      ln>st one was super ftiu and thfinks!" They ihoi-i \w\ a long convcr.satlon about /B|.' fautasics of

      singing with tho men's onsemble nnd j'oked tiroutid nud shwed music to listeu to,

           179, TJie day after the second Swnmer 2016 party they had auollier lengthy

      conversatioui

           ^g/^H's child; "Why'dyou ga around askiug all {'he guys 'ii'a gM wallcecl up to you and
           asked ~yw to make cnlt would you?'" He told lier the other guys were discussing hot' askiug
           about "hooking np" find also talking genejraHy about her,
           /HB "i^&y wish i would Jiook np wlt-h them" aud she said she felt 1ilco she wyuled to cry,



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                                                      2'! oC 2-?
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(FIXiEDi NEW YORK COUNTY "OLERK 06/01/2021 OlsOS'PiM) INDIBX NO, isszyo/zo^i-
NYSCm;' DOG, NO, 2 RMCRIVBD NY8GKI''l Ofi/Ol/SOSl




             {^ A^|y child; "I really dou'l want (o make you liurt, This juirls nw, People iiavQ befen
             put uj.Tbyyoui' self-ooufidenue tiud sU'ength," "I dou't think lliere is any girl in {lie world
             wlio hns the coiiOdence and sclf-esleem of you. People affen'l- ussd t'o that,"
             /a <"^"itlic you,"
             ^ A^''" °^'' "Adding 1o your iniolligonco I jvsf; don't think' niany guys like having
             someone who cnn oui-1'hiuk tliem and laiows,i| too,"
             4H "'Do (^ey ^ave "nyt'hlng »ioo to say?? Like what about nBB or \—|"
             S'^A^HS diild: "Yenli people cnu. bo mnssivc (Holes no mn'lter hov/nice you OEU-I bu,
             A— "And thnnko," "It helps, Thyulc.you (ind I'll try to 'be bottor so these gnys can ytfli,"
             StiA—f) ohlld; "You'va got-len so much bottor siucc rreshman your,"
             /'rl<Tlliit\s good! I Thanks"
             sgAgg.s uliild; "J lhin1< It'll lielp, but you're groat as it is,"

             180, /B Smiold 8g Afg-'a child in October 2016 that, though she didn'ttike

       Jiim romnnlically, "1 do respect you."

             181, In a coziplo ofconvorssitions iuNovember nnd December 2016) Sig/^^l'a cjiild

       told AB R Mi about iiow bad he tbtt in Jyy.z Bnnd becmise ofhaw she bullied him!

            SB/^BB.s child; "You belitlted IUG siaw Ji'eyhmau yeiU", Bolittllug redlty hurt me gud
            klHed my self-confldence/self'-esteem,"
            AB| "Look we hfive dnys wliere we hate each ofher and today \yns 1 of them, I am an
            outspoken person nnd I kuow I ovsrstcp n lot,"
            SgAJ^s child; "I dou't (luiik you realize how oflen it wny, Looking bRck, ntjaTO band
            olus.s ffo,shiniin iind a lot ofsopli.oinora year, moiitofwltatl.remombensjust ooiitiiuially
            being made fun of by you (and Itgotalol more fl'equoiitwit'hfi^BI)'ftl'ea^ywou^n>l
            uBiially lun't thqt nnich) bul 1 roally cnrcd about your opluion of me, I^BBB could say wluit
            ho wnatcd and-1 wouldn't oiirv but uoiiung fi-om you it Inu'l,"
            ABI "You never tided like it, Just sityhig"
            SBAB'18 c^ld; "So you Just piled on wltli I—| beuuusy it way playful lor you?"
                   "Yes"
                    I's child; "And I should nlso apologize', wlthmynccessitsited Ihoitghl prouess, 1
           'CQU blur llnos Bud toso slglit of my campasyiou and empalhy Ibi.' you, Whlcli i do havo,I
            swear,

            182, They also talked about classey, scliedtilcs, daluig, aud, wlicu disuuiistng IfAgj

       was go-ing to come to his 2016/17 New Yonr'a five pnrly, they luUcud nbonl gslliug their fu'st kiss

       ;md a boy A|| liJred who -would bo nt tlio party;

            /BB "Its not tho pluoB lu luss liini uvou Ihough Its now ycar>s, Jt would be MY first kiss and
            1 wouldnl want It to be wolrd oyp wltll a buncli of people being- like wlf ii; ylie doing,"
            sgi ^BBIS cbi^''1<0^ ^ lo(a^y UL'iderst'and uo one would Judge you, tlioiigh, Jt's totally
            yrliderfilWflable, (Though I'm not suggeytuig yonr first klKS bo at a MYB pnrly,) But you
            know, you uould come to hove a good timo with il'louds ofyoufs, uot just ooiue to Lnug oiU



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fB'ILBDi NEW YORK COXJOTY-OU?K 06/01/2021 OliOS'PM] INDEX wo, iGS^/R/ao^.
NyflCISS' DOC;i NO, 2 RBGBIVBD NYflGEP I UC/OX/BO'-i'l,




             with your roniEiutic intel'esti"
             /|B "Y°ah llct Ugli I mil so bad wilh guys. delhlllely not my strong suit,"
            SNA^BB's child; "There m'e worse problems to Jiave, -IFyou need any Aelp) you luiow who
            you can Iwn to?"
            /11"I know, Gli.osl-biiRtere"
            SB /tB's G^^'- "Loi' ^'e' ^~n'} ^Qm t<) ^^i''1 cll7;> ^I*ce' ^ •lalow ^ow g»ys/CMng works,
            This stuff onn be hnrd, But- il doeyn't have lo be, T can see '''that'1' WQnt over woll,"
            /NT'Thauks,"
            S||A^B's child "Anylimo, So aro you intorostod ui lioving ftiawil'h fi'icmcls lonighL? Mt||
                      snys she w<mts you to ooino, S1ie wnnls more gu.'ls,"



                                 ASANDFORACLAlMFORPRlMAPACfllTOJU; [ j |
                                                                                                                         I

            183, Pamgrophs I tlu'ough 182 are hereby inuurporated byrefereace into tlus d&ira,

            184, Proin fall 2016 and oo.ntinuiug ni-iiibnlsd (o dnto, ^HlKatheriQe. and John Sg®

       intentionaHy, motivated sololy by "disiulereslecl niitlevolenco" and wiHiotit swnso or

      juslfficat'ion,ptirsi.ied a vendetta agai nst ^BA^| because thoy in'ntionaUy niui unroasonflbly-

      (ind without a slu'ed of credible evidence - bcllcvucl slio was to blnme for AjBi'rHJnot

      obta-ining a Kcionco-bnscd IB Diploma, j i


            185, sfiA|Bwus^eclo^l"pll^^co;f'^cehv*ce^yl^evotol'so^t^c^l^yc>^'Ak^nu-y> • ;
                                                                                                                 t   '


      the lust tinxe iu November 2013 to serve a foiu-year BOB lerni, : ;

            186, In. Jfliniaiy 2014, £B|'/^IB' wns swol")l ul 1° l'ler second term, taking tho oath oi''

      office to support (heU.S, nu.dN,Y,S, Constiluiious aud fnithftilly disolitirge the duties ul'ul*fice

      ofsoliool                                 board                         inember,"                      i

           187, From fall 20(6 und conHnuing imiAntcd t-o date, A|^Ka('licrino, niid Jolia ;BB

      pursued thoir personal vendetta againat Sg/^g and sougtU to jnterfere with hor obligatioii to

      sorvc as a publicly-eloolud offioinl nnd ooinpol hor to rosign fi'om tlio BOB and to oauso Lor as i
                                                                                                             I
                                                                                                             I
      mudi ccojnujulu Itiii'm ay pusslblu, '




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     Case 1:21-cv-00620-BKS-ATB Document 18-2 Filed 06/21/21 Page 28 of 28




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j'ryscniF notf, NO, 2 REiCKm'u -MXSGJ?| 06/0-1/2021




              188, As n result of A®, Katlierlno, and Jolui SIBSS tortioys colonel,

        suffered ,'}!5,715 in spechit dninRges can,sa11y rolatcd to (•lisi.r toiltons coticltiol apmsl hw $1,120


       for private investigative scrvicos; $'•1000 .[rom lost colJugc scholiirship funds; $595 in lost college

       ttppilcaUon feog.

             189, But for /|B KatheriuCt auc) Jolxi ^ffij's tortlous cojnduot, SfiS^Bi' would uot

       have monrrecl $5,715 in special dumages,

             190, /ggj Katkorilio, nnd Jolui smgs yuai's-loug t'Qlonttoss cmupaign against

       A^| was so gross, wauton, and willful and evidenced suoli a high dogree ofmorully oulpable

       conduct ns to justify Iho imposii;ion ofpuiutive diiinages againRt tlioin,

             191, U liiko.s n spcdiil kind of evil tn pursuG a vendetta agutnsl fiomeone by spnmding

       fnlso clnims) nbout her ululd, making exemplniy damages eh'peciRlly vvarrantcd,



                                              PRAYER FOR RELIEF

               Plaintiff demands judgment agaijuit Defoudauts as tbtlows;

               a, $ 5,715 iuspeoiiil damages;

               b, $ 571,500 tnpimitlve damages;

               c, costs ofthia notion, including nny attonioy's fses; and

               d, Huoli ol1i6i* and further reUeFns tins Court deems just and proper,

       Dated; Jme 1,2021


                                                               PlainlTTTPw Se
                                                               1385 York Avo., Apt, 28A
                                                               NY,NY 10021
                                                               (518)221-4321




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